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8                                UNITED STATES BANKRUPTCY COURT
9                                NORTHERN DISTRICT OF CALIFORNIA
10                                           SAN JOSE DIVISION
11

12   In Re:                                                 Case No.: 18-50604-MEH
13                                                          CHAPTER 13
     RICHARD RIVERA AND JULIE GONZALES-
14                                                          MOTION TO VALUE COLLATERAL
     RIVERA
                                                            UNDER 11 USC §506(a)(1)
15
                                                            Hearing Date: August 16, 2018
16                                                          Hearing Time: 9:30 a.m.
                                Debtor(s).                  Location: 280 S. First St., Courtroom 3020
17                                                          San Jose, CA 95113
18                                                          Judge: Hon. M. Elaine Hammond
19
20

21                                 MOTION TO VALUE COLLATERAL
22            DEBTORS, RICHARD RIVERA AND JULIE GONZALES-RIVERA, HEREBY MOVES
23   the Court for an order that 140 College Rd., Watsonville, CA 95076, the collateral securing Aspen
24   G, LLC’S second mortgage, was worth less than the total of the senior liens on said collateral on the
25   date the Debtors filed this Chapter 13, by making finding that the following facts are true:
26   ///
27   ///
28   ///

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                                       MOTION TO VALUE COLLATERAL
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1                                          STATEMENT OF FACTS
2           1. The Debtors filed this Chapter 13 Bankruptcy on March 20, 2018.

3           2. The Debtors own real property located at 140 College Rd., Watsonville, CA 95076 (“The

4               Property”). At the time of the filing of the Chapter 13 bankruptcy petition, The Property

5               was encumbered by a senior Deed of Trust held by JP Morgan Chase Bank in the amount

6               of $427,223.00 (see Exhibit A to Declaration of Debtor in Support of Motion to Value
7               Collateral, Proof of Claim filed by JP Morgan Chase Bank).

8           3. The property was also encumbered by a junior lien held by Aspen G, LLC in the amount

9               of $279,326.35 (see Exhibit B to Declaration of Debtor in Support of Motion to Value
10              Collateral, Aspen G, LLC’s Proof of Claim in this case). No proof of claim has been

11              filed on behalf of this creditor.

12          4. Property Taxes are current.

13          5. The value of the property is $415,000 (see Exhibit C to Declaration of Debtor in Support
14              of Motion to Value Collateral, a recent appraisal of the property value).

15          6. The value of the property is less than what is owed to the holder of the senior Deed of

16              Trust. Therefore, due to a lack of equity, the Creditor’s junior lien is entirely unsecured.

17          7. This motion is based upon Declaration of Debtor in Support of Motion to Value

18              Collateral, filed and served herewith.

19
20                         MEMORANDUM OF POINTS AND AUTHORITIES
21   I. A junior mortgage (e.g. 2nd or 3rd mortgage) on a Chapter 13 debtor’s real property may be paid
22   off and discharged as an entirely unsecured debt if the real property is worth less than the total of the

23   senior liens on said real property. This is based upon the reasoning that there is no value at all

24   (above senior liens) securing the junior mortgage. Zimmer vs. PSB Lending Corporation (In re

25   Zimmer), 313 F.3d 1220 (9th Cir.2002).

26          However, junior mortgages on the debtor’s residence must be paid in full as fully secured

27   debts if there is any value at all above the senior liens (i.e. the junior mortgage is partially secured)
28   by even one cent.

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                                         MOTION TO VALUE COLLATERAL
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1           If the Chapter 13 debtor completes his/her plan and obtains a discharge, all unsecured claims

2    are considered paid in full and discharged even though the percent offered to, and paid to, the

3    unsecured creditors may be less than 100 cents on the dollar. Therefore, a junior mortgage holder

4    who is paid off and discharged as an entirely unsecured creditor loses its lien once the discharge is

5    entered and must record a re-conveyance of its trust deed (mortgage). If the Chapter 13 is dismissed

6    prior to discharge, the junior lien is not eliminated.

7           In the case at bar, the unsecured creditors have been offered (zero) cents on the dollar. The

8    amount (percent) a debtor must pay to unsecured creditors is based upon his/her excess income

9    and/or non-exempt property. The question of what percent must be paid to unsecured creditors is

10   based upon his/her excess income and/or non-exempt property. The question of what percent must

11   be paid to unsecured creditors is an issue regarding plan confirmation and not an issue regarding a

12   motion to value collateral.

13   II. UNDER CALIFORNIA LAW THE DEBTOR IS QUALIFIED TO TESTIFY AS TO THE
14   VALUE OF THEIR RESIDENTIAL PROPERTY
15          A landowner is competent to testify as to the value of his property without any other

16   qualification. In re Gbadebo, 431 B.R. 222, 225 (Bankr. N.D. Cal. 2010). California law also states

17   that California landowners are qualified to testify as to the value of their land, see California

18   Evidence Code §813.

19   III. BECAUSE THE VALUE OF THE SENIOR LIEN ON THE RESIDENCE IS GREATER
20   THAN THE VALUE OF THE DEBTOR’S RESIDENCE THE JUNIOR LIEN IS WHOLLY
21   UNSECURED
22          The senior lien on the property amounts to $427,233.00. The declaration of the Debtor,

23   along with the supporting evidence, indicates that the property is worth $415,000. Because the
24   property is worth less than the amount of the senior lien on the property, Creditor’s junior lien is

25   wholly unsecured.

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                                         MOTION TO VALUE COLLATERAL
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1                                                CONCLUSION
2            Because the value of the property is less than the senior lien on the property, the junior lien is

3    wholly unsecured and may be voided and stripped off after completion of the Debtor’s Chapter 13

4    plan.

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6    Dated: July 16, 2018

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                                                    ______/s/ Paul Seabrook___________
8                                                   Paul Seabrook
                                                    Attorney for Debtor(s)
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                                        MOTION TO VALUE COLLATERAL
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